Case1:05-cv-01182-.]DT-STA Document 12 Filed 07/19/05 Page 1,§)°4 Page|D4
05 O*~’>`t

iN THE UNITED srArEs DIsTRrCT CoURT(/( /_Q
FoR THE WESTERN DisTRICT oF TENN§,s”sEE '°/y
EASTERN DlvlsioN /¢S`*W~ ii g /"O@/

‘”5’0§?5@/
TIMMY W. BLANKENSHIP,
Al\/IANDA KAY VALES and
DANIEL FARLEY, Wrongful death
beneficiaries and next of kin of
SANDRA K. BLANKENSHIP, deceased,

Plaintiffs,
VS. No. 05-1 lSZ-T/An

MERCK & CO., INC., ET AL.,

\._/\_/\-_/\_/\_/\-,/\_/\._/\_/\_/\-/\_/\-_/

Defendants.

 

ORDER GRANTING MOTION TO STAY

 

Plaintiffs Timmy W. Blankenship, Amanda Vales and Daniel Farley, the wrongful
death beneficiaries and next of kin of the decedent, Sandra K. Bla.nkenship, filed this action
in the Cireuit Court of Gibson County, Tennessee, on June 3, 2005, against Merck and
Company, Inc., maker of the prescription drug known as Vioxx. Plaintiffs also named as
defendants certain local Merck sales representatives and pharmacists Merck removed the
action to this Court on July l, 2005, on the basis of diversity of citizenship, contending that
the non-diverse defendants Were fraudulently joined in an attempt to defeat diversity

jurisdictionl

This document entered on the docket sheet ln co pllance
with nme 58 and,'or_rs (a) FRcP on 2 13 O i l §§

Case 1:05-cv-01182-.]DT-STA Document 12 Filed 07/19/05 Page 2 of 4 Page|D 5

Also on July l, 2005, Merck filed a motion to stay all further proceedings pending
a decision by the J udicial Panel on Multidistrict Litigation (“MDL Panel”) on whether this
case should be transferred to the United States District Court for the Eastern District of
Louisiana as a “tag-along” action in MDL Proceeding No. 1657, In re Vioxx Product
Liabilig[ Litigation. Plaintiffs filed a motion to remand the action to state court on July 15,
2005.

The MDL Panel issued the first Transfer Order establishing MDL-1657 on February
16, 2005. ln that order, the Panel stated:

The pendency of a motion to remand to state court is not a sufficient

basis to avoid inclusion in Section 1407 proceedings We note that motions

to remand in two actions, one action each in the District of Kansas and the

Eastern District of Missouri, as well as in any other MDL-l 65 7 actions can be

presented to and decided by the transferee judge. See, e.g., fn re Ivy, 901 F.2d

7 (2d Cir. 1990); 111 re Prudemial fnsumnce Company of Amerz`ca Sales

Pmctl'ces Litigation, 170 F. Supp. 2d 1346, 1347-48 (J.P.M.L. 2001).
Transfer Order, at 2 (J.P.M.L. Feb. 16, 2005).

The pendency of transfer to the MDL proceeding does not limit the authority of`this
Court to rule on the plaintiffs’ motion to remand §e_e JPML R. l.5. The decision whether
to grant a stay is within the inherent power of the Court and is discretionary E Landis v.
North Arn. Co., 299 U.S. 248, 254-55 (1936). Although some courts have opted to rule on

pending motions to remand prior to the MDL Panel’s decision on transfer, see, e.g., Kantner

v. l\/lerck & Co. Inc., No. l:04CV2044-JDT-TAB, 2005 WL 277688 (S.D. Ind. Jan. 26,

 

2005), there are many more that have chosen to grant a stay, even if a motion to remand has

Case 1:05-cv-01182-.]DT-STA Document 12 Filed 07/19/05 Page 3 of 4 Page|D 6

been filed. E.g., Anderson v. Merck & Co.q lnc., No. 4:05-cv-89 (E.D. Mo. l\/lar. 16, 2005);
l\/[cCrerev v. l\/lerck & Co.. Inc., No. 04-cv-2576 (S.D. Cal. l\/Iar. 2, 2005); Dixon v. Merck

& Co. Inc., No. 05-0121 (S.D. Tex. Feb. 23, 2005).

 

There are several other Vioxx cases already pending in this district, and possibly
thousands more in other districts In many of those cases, the joinder of non-diverse
defendants is contested and motions to remand have been or will be filed. Thus, the
jurisdictional issues raised in this case are similar to those raised in other cases that have
been or will be transferred to the MDL proceeding

The Court finds that having the jurisdictional issues decided in one proceeding will
promote judicial economy and conserve judicial resources In addition, the Court finds that
any prejudice to the plaintiffs resulting from a stay would be minimal However, in the
absence ofa stay, the risk to Merck of duplicative motions and discovery is significantl

F or the foregoing reasons, Merck’s motion to stay pending the MDL Panel’s transfer
decision is GRANTED. The motion to remand is deferred to the transferee court.

lT IS SO ORDERED.

C>W)MB>#M

JA D. TODD
UN ED STATES DISTRlCT JUDGE

/aQ/Mn;lm/
V /

oier

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CV-01182 was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Charles C. Harrell

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/lemphis7 TN 38119

J ames L. &quot',Larry& Wright
JACKS LAW FIRM

111 Congress Ave.

Ste. 1010

Austin7 TX 78701

Lawrence W. White

LEITNER WILLIAMS DOOLEY & NAPOLITAN
254 Court Ave.

Second Floor

1\/lemphis7 TN 38103

Steven G. Ohrvall

H[LL BOREN- Jaekson
1269 N. Highland Ave.
P.O. Box 3539

Jaekson, TN 38303--353

R. Seott Vineent

LEITNER WILLIAMS DOOLEY & NAPOLITAN-Memphis
254 Court Ave.

Second Floor

1\/lemphis7 TN 38103

T. Robert Hill

H[LL BOREN

1269 N. Highland Ave.
Jaekson, TN 38303--053

Honorable J ames Todd
US DISTRICT COURT

